                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLLOTESVILLE DIVISION


                                                                 Action No: 3:18CV00015
 Jason Kessler                                                   Date: 7/24/2018
 vs.                                                             Judge: Norman K. Moon
                                                                 Court Reporter: Sonia Ferris
 City of Charlottesville , et al
                                                                 Deputy Clerk: Heidi N. Wheeler



 Plaintiff Attorney(s)                                   Defendant Attorney(s)
 Elmer Woodard, James Kolenich                           John Longstreth, Linda Odom, Lisa Robertson,
                                                         (Sebastian Waisman-Not Admitted, Amy
                                                         Eldrige)



                                         LIST OF WITNESSES

 PLAINTIFF/GOVERNMENT:                                   DEFENDANT:
 1.                                                      1.



 PROCEEDINGS:
 MOTION FOR PRELIMINARY INJUNCTION               1:00-1:22=22 min 1:30-1:32=2 min 1:38-1:40=2 min Total
 26 min

 Mr. Woodard states to Court that Mr. Kolenich is late based on flights and Mr. Kessler is not present as
 expected. Court will proceed with hearing.

 Parties present through counsel     for hearing on motion.

 Opening Statements.

 Mr. Kolenich arrives. Court addresses issues.

 Break for attorney    to try to reach Mr. Kessler

 Back on record. Counsel ask for another brief recess to speak to client.

 On the Record Mr. Woodard makes Motion to withdraw the Motion for Preliminary Injunction.



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 Court grants the motion.

 Court adjourned.




 Time in Court:




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